Case 1:20-cv-04432-BMC-VMS            Document 104        Filed 02/05/24      Page 1 of 4 PageID #:
                                            1106



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------ X
  RUBEN WILLS,                                                        :
                                                                      :
                                      Plaintiff,                      : 20 Civ 4432 (BMC)
                                                                      :
                    -against-                                         : DECLARATION OF JENNIFER
                                                                      : GOLTCHE IN SUPPORT OF
  MICROGENICS CORPORATION,                                            : DEFENDANT WOODBERRY’S
  THERMO FISHER SCIENTIFIC, INC., and                                  : MOTION FOR SUMMARY
  SHEILA WOODBERRY,                                                   : JUDGEMENT
                                                                      :
                                                                      :
                                      Defendants.                     :
  ------------------------------------------------------------------ X

        Jennifer Goltche, an attorney admitted to practice in New York and before this Court,

 declares under the penalties of perjury, pursuant to 28 U.S.C. § 1746, that the following is true

 and correct:

    1. I am an Assistant Attorney General in the Office of Letitia James, Attorney General of

        the State of New York, attorney for Defendant Sheila Woodberry (“Defendant

        Woodberry”) in the above-captioned matter. I submit this declaration in support of

        Defendant Woodberry’s motion for summary judgment.

    2. A true and correct copy of the New York State Department of Corrections and

        Community Supervision (“DOCCS”) Standards of Inmate Behavior handbook (rev. Nov

        2017) produced in discovery in this case and Bates-stamped STATE DEF 000949-

        000972, and which was marked as Exhibit A during the deposition of Plaintiff Ruben

        Wills taken on April 24, 2023, is annexed as Exhibit A to the Exhibits in Support of

        Defendant Woodberry’s Motion for Summary Judgment (“Exhibit Volume”).
Case 1:20-cv-04432-BMC-VMS           Document 104        Filed 02/05/24     Page 2 of 4 PageID #:
                                           1107



    3. A true and correct copy of the DOCCS Lincoln Correctional Facility, Offenders’

       Orientation Manual (rev. Nov 2016) produced in discovery in this case and Bates-

       stamped WILLS 000530-000575, is annexed as Exhibit B to the Exhibit Volume.

    4. A true and correct copy of the relevant excerpts of the transcript of Plaintiff Ruben

       Wills’s (“Plaintiff”) deposition, taken on April 24, 2023, appears as Exhibit C to the

       Exhibit Volume.

    5. A true and correct copy of the relevant excerpts of the transcript of Maryann Genovese’s

       deposition, taken on November 7, 2023, appears as Exhibit D to the Exhibit Volume.

    6. A true and correct copy of the DOCCS Division of Health Services Policy 3.03:

       Distribution of Over-The-Counter Medication, dated February 26, 2019, produced in

       discovery in this case and Bates-stamped STATE DEF 000135-000136, is annexed as

       Exhibit E to the Exhibit Volume.

    7. A true and correct copy of the Audio Recording of Plaintiff’s June 14, 2018 Disciplinary

       Hearing, produced in discovery in this case and Bates-stamped STATE DEF 001275, is

       annexed as Exhibit F to the Exhibit Volume.

    8. A true and correct copy of the Hearing Record Sheet, Disciplinary Hearing Disposition

       Rendered, and accompanying documents for Plaintiff’s April 8, 2019 disciplinary

       hearing, produced in discovery in this case and Bates-stamped STATE DEF 000002-

       000014, is annexed as Exhibit G to the Exhibit Volume.

    9. A true and correct copy of the Audio Recording of Plaintiff’s April 8, 2019 Disciplinary

       Hearing, produced in discovery in this case and Bates-stamped STATE DEF 001277, is

       annexed as Exhibit H to the Exhibit Volume.
Case 1:20-cv-04432-BMC-VMS         Document 104        Filed 02/05/24     Page 3 of 4 PageID #:
                                         1108



    10. A true and correct copy of Plaintiff’s Temporary Release Program Form 4187, dated

       April 9, 2019, produced in discovery in this case and Bates-stamped STATE DEF

       000176, is annexed as Exhibit I to the Exhibit Volume.

    11. A true and correct copy of the Hearing Record Sheet, Disciplinary Hearing Disposition

       Rendered, and accompanying documents for Plaintiff’s March 30, 2019 disciplinary

       hearing, produced in discovery in this case and Bates-stamped STATE DEF 000028-

       000032, is annexed as Exhibit J to the Exhibit Volume.

    12. A true and correct copy of Plaintiff’s Notice of Disapproval for Work Release Removal

       Appeal produced in discovery in this case and Bates-stamped STATE DEF 000178, and

       Plaintiff’s Acknowledgement of Receipt of Appeal Disapproval for Work Release, dated

       Aug. 7, 2019, produced in discovery in this case and Bates-stamped STATE DEF 000177

       are annexed as Exhibit K to the Exhibit Volume.

    13. A true and correct copy of Plaintiff’s Temporary Release Program Form 4187, dated June

       21, 2018, produced in discovery in this case and Bates-stamped STATE DEF 000329, is

       annexed as Exhibit L to the Exhibit Volume.

    14. A true and correct copy of the Hearing Record Sheet, Disciplinary Hearing Disposition

       Rendered, and accompanying documents for Plaintiff’s June 14, 2018 disciplinary

       hearing, produced in discovery in this case and Bates-stamped STATE DEF 000045-

       000051, is annexed as Exhibit M to the Exhibit Volume.

    15. A true and correct copy of Plaintiff’s Temporary Release Program Form 4187, dated July

       5, 2018, produced in discovery in this case and Bates-stamped STATE DEF 000317, is

       annexed as Exhibit N to the Exhibit Volume.
Case 1:20-cv-04432-BMC-VMS          Document 104        Filed 02/05/24      Page 4 of 4 PageID #:
                                          1109



    16. A true and correct copy of Plaintiff’s Draft Receipt from Lincoln Correctional Facility,

       dated Sep. 6, 2018, produced in discovery in this case and Bates-stamped STATE DEF

       001185, is annexed as Exhibit O to the Exhibit Volume.

    17. A true and correct copy of Plaintiff’s DOCCS Medication List, dated July 1, 2017 to

       September 1, 2020, produced in discovery in this case and Bates-stamped WILLS

       000439-000443, and which was marked as Genovese 3 during the deposition of Maryann

       Genovese taken on November 7, 2023, is annexed as Exhibit P to the Exhibit Volume.




 Dated: New York, New York
 February 5, 2024


                                                     ____/s Jennifer Goltche____
                                                       JENNIFER GOLTCHE
